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                            UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA
                              SAN FRANCISCO DIVISION
 GOOGLE LLC,                                  CASE NO. 3:20-cv-06754-WHA
                                                Related to CASE NO. 3:21-cv-07559
             Plaintiff,
                                                DECLARATION OF JOCELYN MA IN
       vs.                                    SUPPORT OF GOOGLE LLC’S MOTION
                                                TO BIFURCATE VALIDITY FROM
 SONOS, INC.,                                 WILLFULNESS AND DAMAGES FOR
                                                THE PATENT SHOWDOWN TRIAL
             Defendant.
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                                                                    CASE NO. 3:20-cv-06754-WHA
                       DECLARATION OF J OCELYN MA IN SUPPORT   OF GOOGLE ’ S MOTION TO BIFURCATE
      Case 3:20-cv-06754-WHA Document 330-1 Filed 08/24/22 Page 2 of 3




 1           I, Jocelyn Ma, declare and state as follows:
 2           1.     I am an attorney licensed to practice in the State of California and am admitted to
 3 practice before this Court. I am an associate at Quinn Emanuel Urquhart & Sullivan LLC representing
 4 Google LLC (“Google”) in this matter. I make this declaration in support of Google’s Motion to
 5 Bifurcate Validity from Willfulness and Damages for the Patent Showdown Trial (“Motion to
 6 Bifurcate”). If called as a witness, I could and would testify competently to the information contained
 7 herein.
 8           2.     Attached as Exhibit 1 is a true and correct copy of an excerpt of the June 22, 2022
 9 Expert Report of James E. Malackowski.
10           I declare under penalty of perjury that to the best of my knowledge the foregoing is true and
11 correct. Executed on August 24, 2022, in San Francisco, California.
12
13 DATED: August 24, 2022
14                                                By: /s/ Jocelyn Ma
15                                                    Jocelyn Ma

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                                                      -2-                  CASE NO. 3:20-cv-06754-WHA
                            DECLARATION OF J OCELYN MA IN SUPPORT     OF GOOGLE ’ S MOTION TO BIFURCATE
     Case 3:20-cv-06754-WHA Document 330-1 Filed 08/24/22 Page 3 of 3




 1                                           ATTESTATION
 2         I, Charles K. Verhoeven, am the ECF user whose ID and password are being used to file the
 3 above Declaration. In compliance with Civil L.R. 5-1(i)(3), I hereby attest that Jocelyn Ma has
 4 concurred in the aforementioned filing.
 5
 6                                                      /s/ Charles K. Verhoeven
                                                        Charles K. Verhoeven
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                                                  -3-                  CASE NO. 3:20-cv-06754-WHA
                          DECLARATION OF J OCELYN MA IN SUPPORT   OF GOOGLE ’ S MOTION TO BIFURCATE
